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                          Attorneys for Plaintiff
                      6   UMG RECORDINGS, INC.
                      7

                      8                              UNITED STATES DISTRICT COURT
                      9                             CENTRAL DISTRICT OF CALIFORNIA
                  10

                  11      UMG RECORDINGS, INC.,                  Case No. 2:07-cv-05808 SJO (FFMx)
                          a Delaware corporation,
                  12
                                               Plaintiff,        RENEWAL OF JUDGMENT BY
                  13                                             CLERK
                  14      v.
                                                                 No Hearing Requested
                  15      BCD MUSIC GROUP, INC.,
                          a Texas corporation; and               Complaint filed: September 6, 2007
                  16      DOES 1-10, inclusive,
                  17                           Defendants.
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                  19
                                   Based upon the application for renewal of the judgment of the original
                  20
                          judgment, and pursuant to F.R.C.P. 69(a) and C.C.P. §683.110 through §683.320,
                  21
                          and for good cause appearing therefore, Judgment in favor of Plaintiff, UMG
                  22
                          RECORDINGS, INC., and against Defendants BCD MUSIC GROUP, INC. and
                  23
                          DEEP DISTRIBUTION WORLDWIDE, INC. entered on January 26, 2009, be and
                  24
                          the same is hereby renewed in the amounts as set forth below:
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                  26               Renewal of money judgment
                  27
                                             a. Total judgment                            $7,200,000.00
                  28
K UTAK R OCK LLP
 ATTO RNEY S AT LAW
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       IRVINE
                                                   RENEWAL OF JUDGMENT BY CLERK
                          4822-2851-6094.1
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                      1                      b. Costs after judgment                        $0.00
                      2                      c. Subtotal                                    $7,200,000.00
                      3                      d. Credits after judgment                      $0.00
                      4                      e. Subtotal (subtract d from c)                $7,200,000.00
                      5                      f. Interest after judgment (2.25% per annum)   $9,143,013.51
                      6                      g. Fee for filing renewal application          $0.00
                      7                      h. Total renewed judgment (add e, f and g)     $16,343,013.51
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                  10      Dated: ____________________
                                 October 6, 2021      Clerk, by
                                                              y ________________________________
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K UTAK R OCK LLP
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       IRVINE
                                                    RENEWAL OF JUDGMENT BY CLERK
                          4822-2851-6094.1
